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                          EXHIBIT J
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    Bates Number                    Production Volume No.   Date of Production
    APL-CORELLIUM 00000023          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000249          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 0000033 1         ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000468          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000470          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000472          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000474          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000476          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000479          ProductionOO 1          Jan. 10, 2020
    APL-CORELLIUM 00000519          Production002           Jan.24, 2020
    APL-CORELLIUM 00000521          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000530          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000533          Production002           Jan.24, 2020
    APL-CORELLIUM 00000536          Production002           Jan.24, 2020
    APL-CORELLIUM 00000540          Production002           Jan.24, 2020
    APL-CORELLIUM 00000544          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000548          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000552          Production002           Jan.24, 2020
    APL-CORELLIUM 00000555          Production002           Jan.24, 2020
    APL-CORELLIUM 00000559          Production002           Jan.24, 2020
    APL-CORELLIUM 00000562          Production002           Jan.24, 2020
    APL-CORELLIUM 00000566          Production002           Jan.24, 2020
    APL-CORELLIUM 00000569          Production002           Jan.24, 2020
    APL-CORELLIUM 00000573          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000576          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000580          Production002           Jan.24, 2020
    APL-CORELLIUM 00000584          Production002           Jan.24, 2020
    APL-CORELLIUM 00000604          Production002           Jan.24, 2020
    APL-CORELLIUM 00000607          Production002           Jan.24, 2020
    APL-CORELLIUM 00000609          Production002           Jan. 24, 2020




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    Bates Number                    Production Volume No.   Date of Production
    APL-CORELLIUM 00000611          Production002           Jan.24, 2020
    APL-CORELLIUM 00000613          Production002           Jan.24, 2020
    APL-CORELLIUM 00000615          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000617          Production002           Jan.24, 2020
    APL-CORELLIUM 00000619          Production002           Jan.24, 2020
    APL-CORELLIUM 00000621          Production002           Jan.24, 2020
    APL-CORELLIUM 00000744          Production002           Jan.24, 2020
    APL-CORELLIUM 00000747          Production002           Jan.24, 2020
    APL-CORELLIUM 00000750          Production002           Jan.24, 2020
    APL-CORELLIUM 00000802          Production002           Jan.24, 2020
    APL-CORELLIUM 00000809          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000817          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000818          Production002           Jan.24, 2020
    APL-CORELLIUM 00000863          Production002           Jan.24, 2020
    APL-CORELLIUM 00000874          Production002           Jan.24, 2020
    APL-CORELLIUM 00000882          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000885          Production002           Jan. 24, 2020
    APL-CORELLIUM 00000886          Production002           Jan.24, 2020
    APL-CORELLIUM 00000887          Production002           Jan.24, 2020
    APL-CORELLIUM 00000890          Production002           Jan.24, 2020
    APL-CORELLIUM 00002400          Production002           Jan.24, 2020
    APL-CORELLIUM 00002406          Production002           Jan.24, 2020
    APL-CORELLIUM 00002428          Production002           Jan.24, 2020
    APL-CORELLIUM 00002432          Production002           Jan. 24, 2020
    APL-CORELLIUM 00002435          Production002           Jan. 24, 2020
    APL-CORELLIUM 00002438          Production002           Jan.24, 2020
    APL-CORELLIUM 00002441          Production002           Jan.24, 2020
    APL-CORELLIUM 00002445          Production002           Jan.24, 2020
    APL-CORELLIUM 00002448          Production002           Jan.24, 2020
    APL-CORELLIUM 00002464          Production002           Jan. 24, 2020
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    Bates Number                    Production Volume No.   Date of Production
    APL-CORELLIUM 00002470          Production002           Jan.24, 2020
    APL-CORELLIUM 00002476          Production002           Jan.24, 2020
    APL-CORELLIUM 00002478          Production002           Jan. 24, 2020
    APL-CORELLIUM 00002782          Production003           Feb. 7, 2020
    APL-CORELLIUM 00002784          Production003           Feb. 7, 2020
    APL-CORELLIUM 00003920          Production003           Feb. 7, 2020
    APL-CORELLIUM 00006089          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006366          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006396          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006405          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006416          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006428          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006636          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006665          Production004           Feb. 14, 2020
    APL-CORELLIUM 00006674          Production004           Feb. 14, 2020
    APL-CORELLIUM 00008529          Production004           Feb. 14, 2020
    APL-CORELLIUM 00017216          Production004           Feb. 14, 2020
    APL-CORELLIUM 00017948          Production004           Feb. 14, 2020
    APL-CORELLIUM 00017961          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018016          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018022          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018043          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018477          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018575          Production004           Feb. 14, 2020
    APL-CORELLIUM 00018944          Production004           Feb. 14, 2020
    APL-CORELLIUM 00021311          Production004           Feb. 14, 2020
    APL-CORELLIUM 000213 14         Production004           Feb. 14, 2020
    APL-CORELLIUM 00021317          Production004           Feb. 14, 2020
    APL-CORELLIUM 00021343          Production004           Feb. 14, 2020
    APL-CORELLIUM 0003231 1         Production004           Feb. 14, 2020
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    Bates Number                    Production Volume No.   Date of Production
    APL-CORELLIUM 00036199          Production004           Feb. 14, 2020
    APL-CORELLIUM 00036228          Production004           Feb. 14, 2020
    APL-CORELLIUM 00036237          Production004           Feb. 14, 2020
    APL-CORELLIUM 00036248          Production004           Feb. 14, 2020
    APL-CORELLIUM 00036252          Production004           Feb. 14, 2020
    APL-CORELLIUM 00044283          Production007           Mar. 16, 2020
    APL-CORELLIUM 00044287          Production007           Mar. 16, 2020
    APL-CORELLIUM 00044290          Production007           Mar. 16, 2020
    APL-CORELLIUM 00044293          Production007           Mar. 16, 2020
    APL-CORELLIUM 00044297          Production007           Mar. 16, 2020
    APL-CORELLIUM 00044386          Production008           Apr. 2, 2020
    APL-CORELLIUM 00044749          Production008           Apr. 2, 2020
    APL-CORELLIUM 00045401          Production009           Apr. 14, 2020
    APL-CORELLIUM 00045484          Production009           Apr. 14, 2020
    APL-CORELLIUM 00046937          ProductionO 11          Apr. 20, 2020
    APL-CORELLIUM 00046939          ProductionO11           Apr. 20, 2020
    APL-CORELLIUM 00047084          ProductionO11           Apr. 20, 2020
    APL-CORELLIUM 00047306          ProductionOl 1          Apr. 20, 2020
    APL-CORELLIUM 00050741          ProductionO 11          Apr. 20, 2020
    APL-CORELLIUM 00052630          ProductionO 11          Apr. 20, 2020
